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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

KENNETH JEFFERSON,

                Plaintiff,                            CASE NO. 98-80812

v.                                                    PAUL D. BORMAN
                                                      UNITED STATES DISTRICT JUDGE

UNITED STATES OF AMERICA,

                Defendant,
                                       /

                                     ORDER
                GRANTING CERTIFICATE OF APPEALABILITY PURSUANT
                  TO FEDERAL RULE OF APPELLATE PROCEDURE 22(b)

         The present posture of the instant case is that Defendant, on September 8, 2008, filed a

Motion for Certificate of Appealability from the District Court’s ruling on his motion filed

pursuant to 28 U.S.C. 2254.

         The Court will grant Defendant’s motion for a certificate of appealability pursuant to

F.R. App. P. 22(b).

         SO ORDERED.

                                              s/Paul D. Borman
                                              PAUL D. BORMAN
                                              UNITED STATES DISTRICT JUDGE

Dated: October 24, 2008

                                   CERTIFICATE OF SERVICE

Copies of this Order were served on the attorneys of record by electronic means or U.S. Mail on
October 24, 2008.


                                              s/Denise Goodine
                                              Case Manager
